         Case 1:14-cr-00591-JKB Document 172 Filed 12/19/22 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,                          Case No. 14-CR-00591

                        Plaintiff,

         vs.

 ANGELA BLYTHE,

                        Defendant.


               MOTION TO SEAL EXHIBITS 1 AND 2 TO GOVERNMENT’S
               RESPONSE TO PETITIONER’S MOTION FOR ACCOUNTING



       The United States of America moves this Honorable Court to order and direct that Exhibits

1 and 2 to the Government’s Response to Petitioner’s Motion for Accounting should be SEALED.

       Exhibits 1 and 2 are the account statements of Angela Blythe, and contain confidential

information that is typically sealed out of respect for the privacy interests of the Defendant.


                                              Respectfully submitted,

                                              Erek L. Barron
                                              United States Attorney
                                                                     Digitally signed by
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